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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION

 FARMHOUSE PARTNERS
 LIMITED PARTNERSHIP,
                                                   CV 21-48-BU-BMM
 Plaintiff,

 v.                                                      ORDER

 MULTI-HOUSING TAX CREDIT
 PARTNERS XXX,

 Defendant.

       Defendant has moved for an order allowing Edward F. Quigley, Esq. and

Cathy T. Moses, Esq., to appear pro hac vice in this case with David M. Wagner,

Esq., designated as local counsel. Mr. Quigley and Ms. Moses’ applications

appear to be in compliance with L.R. 83.1(d).

       IT IS HEREBY ORDERED:

       Defendant’s motions to allow Mr. Quigley and Ms. Moses to appear on its

behalf (Doc. 4) is GRANTED, subject to the following conditions:

       1.      Local counsel shall exercise the responsibilities required by

L.R. 83.1(d)(5) and must be designated as lead counsel or as co-lead counsel with

Mr. Quigley and Ms. Moses;

       2.      Mr. Quigley and Ms. Moses must do their own work. They must do
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their own writing, sign their own pleadings, motions, briefs and other documents

served or filed by them, and, if designated co-lead counsel, must appear and

participate personally in all proceedings before the Court;

      3.      Local counsel shall also sign all such pleadings, motions and briefs

and other documents served or filed; and

      4.      Admission is personal to Mr. Quigley and Ms. Moses.

      FURTHER ORDERED:

      Mr. Quigley and Ms. Moses shall file, within fifteen (15) days from the date

of this Order, an acknowledgment and acceptance of their admission under the

terms set forth above.

      DATED this 25th day of May, 2021.




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